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               IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,              )
                                       )
                   Plaintiff,          )
                                       )
v.                                     )     Case No. CR-20-114-PRW
                                       )
RAYLENE MARIE WALKUP,                  )
                                       )
                   Defendant.          )




          DEFENDANT’S SENTENCING MEMORANDUM
                           AND
      MOTION FOR VARIANCE OR NON-GUIDELINE SENTENCE


      The defendant, Raylene Marie Walkup (“Walkup” or “Defendant”), through

the undersigned Counsel and files with the Court her Sentencing Memorandum and

Motion for Variance or Non-Guideline Sentence for the Court’s consideration in

determining an appropriate sentence in her case.

                         I.     Introduction and Background

      Raylene Walkup is 31 years old. She was born in Tucson Arizona, but raised

in Oklahoma, since the age of three. The procedure of the case is adequately

described in the Pre-sentence Investigation Report (PSR). Walkup has accepted

responsibility for her crimes for which this Court will impose a sentence.



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       II.    Sentencing Factors and Considerations of 18 U.S.C. §3553(a)

         a. Defendant’s History and Characteristics                 and   Nature    and
 Circumstances of the Offense - §3553(a)(1).

      The factors outlined in 18 USC §3553(a) guide the Court in fashioning a

sentence that is not greater than necessary to accomplish the goals of sentencing.

There is additional information below for the Court to consider when determining a

fair sentence. The nature and circumstances of the offense are fairly described in the

presentence investigation report.

      Raylene Walkup left home at 15 years old and has had a difficult life since

that time. Her life has been marred with addiction and mental health issues. During

the commission of the offense conduct, Ms. Walkup was addicted to

methamphetamine and heroine. She was a “runner” taking orders from a drug

trafficking organization (DTO). A substantial amount of time working for the DTO

was spent on the run or in hiding because her boyfriend was a suspect for robbing

one of the DTO’s workers. Also, during the offense, Walkup was nearly shot on

one occasion and the victim of an attempted kidnapping on another.

                b. The Need for the Sentence Imposed



      Booker and its progeny have rendered the sentencing guidelines as advisory.

The legislation that created them was intended to create fair and consistent

sentencing. Instead, Booker recognizes the need for Court to have discretion to
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evaluate the individual merits of each case and render a sentence that accomplishes

the goals of sentencing. Walkup’s calculated guideline range in 108 – 135 months.

We submit that a sentence of 60 months is adequate for the following reasons.

      First, the guideline range calculated in the PSR is overstates the seriousness

of the offense. The methamphetamine’s purity drastically elevated the quantity

uses to calculate her base offense level by a factor of 10. Second, the relevant

conduct includes numerous firearms confiscated in other pending state cases.

                c. Mitigating Facts and Argument for Downward Departure and
                   Non-guideline Sentence with Authority


                              i. The Defendant’s Mental and Emotional Condition


      Mental and emotional deficiencies may render a defendant less morally

culpable that another defendant. See generally Penry v. Lynaugh, 492 U.S. 302,

322 (1989). Walkup has a clear history of a personality and mood disorder coupled

with substance abuse. See PSR at ¶69. Here, although Walkup has been treated for

her mental health issues it has not helped her with self-medication through

substance abuse. Undoubtedly, she would not find herself in this position before

the court but for her addiction exacerbated by her mental health condition.




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                             ii. Necessity


      Because Walkup was nearly shot and kidnapped by members of the DTO, she

kept firearms close at all times. Her advisory guideline range is significantly

increased because of the number and type of firearms she was arrested with on

different dates calculated under the relevant conduct rule. Walkup did not possess

the guns to harm the public, but only for self protection.


      For the above reasons, Raylene Walkup humbly and respectfully requests the

Court grant her motion for a non-guideline sentence of 60 months.




                                 Respectfully,




                                 Jeffery D. Trevillion, Jr.
                                 Bar Number 21851
                                 DOERNER SAUNDERS DANIEL & ANDERSON, LLP
                                 210 Park Avenue, Suite 1200
                                 Oklahoma City, Oklahoma 73102
                                 Telephone: (405) 898-8650
                                 Facsimile: 405-898-8680
                                 Email:     jtrevillion@dsda.com
                                 ATTORNEY FOR DEFENDANT




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                               CERTIFICATE OF SERVICE



            I hereby certify that on October 15, 2021, I electronically transmitted

the attached document to the Clerk of the Court using the Electronic Case

Filing System for filing, which will automatically send e-mail notification of

such filing to all attorneys of record.




                                         Jeffery D. Trevillion, Jr.


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